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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                           :   CRIMINAL NO.
                                                    :
               v.                                   :   MAGISTRATE NO. 21-MJ-619
                                                    :
 JEREMY BROWN,                                      :   VIOLATIONS:
                                                    :
                        Defendant.                  :   18 U.S.C. § 1752(a)(1)
                                                    :   (Entering and Remaining in a Restricted
                                                    :   Building or Grounds)
                                                    :   18 U.S.C. § 1752(a)(2)
                                                    :   (Disorderly and Disruptive Conduct in a
                                                    :   Restricted Building or Grounds)
                                                    :
                                                    :
                                                    :
                                                    :
                                                    :

                                     INFORMATION

         The United States Attorney charges that:

                                          COUNT ONE

         On or about January 6, 2021, within the District of Columbia, Jeremy Brown, did

unlawfully and knowingly enter and remain in a restricted building and grounds, that is, any posted,

cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where

the Vice President and Vice President-elect were temporarily visiting, without lawful authority to

do so.

         (Entering and Remaining in a Restricted Building, in violation of Title 18, United States
         Code, Section 1752(a)(1))

                                         COUNT TWO

         On or about January 6, 2021, within the District of Columbia, Jeremy Brown, did

knowingly, and with intent to impede and disrupt the orderly conduct of Government business and
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official functions, engage in disorderly and disruptive conduct in and within such proximity to a

restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area

within the United States Capitol and its grounds, where the Vice President and Vice President-

elect were temporarily visiting, when and so that such conduct did in fact impede and disrupt the

orderly conduct of Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building, in violation of Title 18,
       United States Code, Section 1752(a)(2))


       Date: October 1, 2021
                                            Respectfully submitted,

                                            CHANNING D. PHILLIPS
                                            ACTING U.S. ATTORNEY


                                     By:    /s/ Louis Manzo
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